                                                                Case 2:21-cv-08124-AB-MRW Document 200 Filed 02/27/24 Page 1 of 3 Page ID #:3093




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                                                                            10                        UNITED STATES DISTRICT COURT
                                                                            11                      CENTRAL DISTRICT OF CALIFORNIA
PHILLIPS, ERLEWINE, GIVEN & CARLIN LLP




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                                                                                 DOUGLAS CAMPBELL THOMSON; Case No. 2:21-cv-08124-AB
                                 39 Mesa Street, Suite 201 – The Presidio




                                                                            13   JOHN ANTHONY HELLIWELL; and
                                                                                 ROBERT LAYNE SIEBENBERG        Hon. André Birotte, Jr.
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                                                                            14                                  Courtroom: 7B
                                                                                              Plaintiffs,
                                                                            15                                  PLAINTIFF’S POCKET BRIEF ON
                                                                                       vs.                      THE COURT’S PROPOSED JURY
                                                                            16
                                                                                 CHARLES ROGER POMFRET          INSTRUCTION 19
                                                                            17   HODGSON, a/k/a ROGER
                                                                                 HODGSON; DELICATE MUSIC, a
                                                                            18   California general partnership
                                                                            19
                                                                                               Defendants.
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                                                                                           PLAINTIFF’S POCKET BRIEF ON THE COURT’S PROPOSED JURY INSTRUCTION 19
                                                                                                                 Case No. 2:21-cv-08124-AB-PLA
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                                                                            1          In its proposed Jury Instruction 19, the Court states “neither the express
                                                                            2    language of the contract nor the nature of the contract and the surrounding
                                                                            3    circumstances prove a basis for implying a termination date for the contract . . .”
                                                                            4          The Court has thus taken the determination of the implied duration of the
                                                                            5    contract away from the jury. This is erroneous for several reasons.
                                                                            6          First, where the extrinsic evidence is in conflict, interpretation of the
                                                                            7    contract should be a question of fact for the jury. See, e.g., City of Hope National
                                                                            8    Medical Center v. Genentech, Inc., 43 Cal.4th 375 (2008).
                                                                            9          Here, the extrinsic evidence is in conflict.
                                                                            10         Defendants say it was just because of the short-term lack of income.
                                                                            11         Plaintiffs, on the other hand, say the participation shares were agreed to for
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                                                                            12   a number of reasons—both because they were not getting paid much money at the
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                                                                            13   time, but also in recognition of their contributions to the songs themselves, and
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                                                                            14   their hard work over many years in contributing to the success of the band. There
                                                                            15   was extensive testimony about all this.
                                                                            16         Moreover, Defendant Hodgson admitted in his testimony that his
                                                                            17   expectation in his record contracts with A&M Records was that those royalties
                                                                            18   would flow for as long as the records sold, despite no express duration for the
                                                                            19   obligation to pay in those contracts. It can be implied from this that he understood
                                                                            20   that this agreement would work the same way.
                                                                            21         Plaintiffs also had expert testimony from Jampol on the customary reasons
                                                                            22   why such agreements are entered into.
                                                                            23         The jury should be allowed to consider all these factors in deciding whether
                                                                            24   or not to imply that the duration of the contract should be for as long as the songs
                                                                            25   continued to generate income, as Plaintiffs contend.
                                                                            26         Second, even if the extrinsic evidence were not in conflict, in construing the
                                                                            27   contract, the Court focused solely on the words of the contract, but it has failed to
                                                                            28   take into account the nature of the contract as being one for payment of a share of
                                                                                           PLAINTIFF’S POCKET BRIEF ON THE COURT’S PROPOSED JURY INSTRUCTION 19
                                                                                                                 Case No. 2:21-cv-08124-AB-PLA
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                                                                            1    the stream of income created in part by Plaintiffs’ efforts. As set forth in Plaintiff’s
                                                                            2    Rule 50 motion, the most important factor in construing the duration of a contract
                                                                            3    is the nature of the contract. The Court also seems not to have taken into account
                                                                            4    any of the surrounding circumstances set forth above.
                                                                            5          If the Court does not grant Plaintiffs’ Rule 50 motion (which it should),
                                                                            6    Plaintiffs urge the Court to reconsider and to give Plaintiff’s proposed Jury
                                                                            7    Instruction 34 in place of the current 19.
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                                                                            9                                            Respectfully submitted,
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                                                                            11   DATED: February 27, 2024                 PHILLIPS, ERLEWINE, GIVEN &
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                                                                                           PLAINTIFF’S POCKET BRIEF ON THE COURT’S PROPOSED JURY INSTRUCTION 19
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